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                 UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF NEW YORK




SILICON VALLEY BANK
               Plaintiff
    Vs.
JES GLOBAL CAPITAL GPIII, LLC
and
                                          2021 Civ 2552 (JPC)
ELLIOTT SMERLING
               Defendants




 RESPONSE AND MEMORANDUM OF LAW IN OPPOSITION TO THIRD
    SUPPLEMENTAL ORDER TO SHOW CAUSE TO ATTACH CERTAIN
                        PROPERTIES




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INTRODUCTION

      The Plaintiff has moved via a motion for order to show cause for

prejudgment attachment and a temporary restraining order of certain property

including real property and automobiles pursuant to rules 64 and 65 of the Federal

Rules Of Civil Procedure and sections 6201, 6211, and 6212 of New York’s

CPLR. This court set June 9, 2021, as the date for Mr. Smerling to respond to the

order to show cause.

      Elliot Smerling has no objection to the court granting the temporary

restraining order and prejudgment attachment of the automobiles listed in DE55

¶(iii) (a-l). It has been conveyed to the undersigned counsel that the receiver and

perhaps other parties have agreed that for the time being Elliot Smerling’s wife

Elaine Smerling will retain possession of the Cadillac Escalade listed in (iii)(c) of

the order to show cause with the understanding that she shall maintain it for

personal use and not sell it.

      As to the real property listed in DE55, to wit: 11353 Manatee Terrace, Lake

Worth, FL, 33349 and 3049 Hartridge Terrace, Wellington, FL, 33414, the

undersigned counsel is under the belief that both properties have been placed in an

irrevocable trust of which Elliott Smerling is not a beneficiary. However, in a brief

discussion on this issue with Paul Singerman, Esq., counsel to the receiver in


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CAPITAL GP II, LLC; and ELLIOT S. SMERLING, (21-cv-90915AMC, SDFL),

Mr. Singerman informed counsel that Mr. Smerling is a beneficiary of the trust.

Counsel for Mr. Smerling does not have the trust documents.

        For the foregoing reasons this court should exercise its discretion and not

attach the real property.


   I.      ATTACHMENT IS NOT FAVORED IN LAW AND STRICTLY
           CONSTRUED AGAINST THE PARTIES SEEKING THE ATTACHMENT

        Attachment is not mandated. CPLR 6201 states “An order of attachment

may be granted in any action…” (emphasis added). “Attachment is a ‘harsh’

remedy, and is construed narrowly in favor of the party against whom the remedy

is invoked.” VisionChina Media Inc. v. S'holder Representative Services, LLC,

967 N.Y.S.2d 338, 345 (2013)) citing Penoyar v. Kelsey, 150 N.Y. 77, 80

(1896); DLJ Mtge. Capital, Inc. v. Kontogiannis, 594 F.Supp.2d 308, 319 (EDNY

2009). Whether to grant a motion for an order of attachment rests within the

discretion of the court. see Morgenthau v. Avion Resources, Ltd., 11 N.Y.3d 383,

387, 869 N.Y.S.2d 886 (2008) (no abuse of discretion when court declined to

confirm the attachment orders ).




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   II.      THE REQUIREMENTS FOR ATTACHMENT IN CPLR 6201 ARE NOT
            FULLY MET


         As the Plaintiff notes in their memorandum of law DE56, there are certain

conditions under CPLR 6201 that must be met for attachment under CPLR 6212.

               CPLR 6201 permits attachment when:

         3. the defendant, with intent to defraud his creditors or frustrate the
         enforcement of a judgment that might be rendered in plaintiff's favor,
         has assigned, disposed of, encumbered or secreted property, or
         removed it from the state or is about to do any of these acts.

         This requirement is not met. The properties have remained in the same

status since Mr. Smerling’s arrest on February 26, 2021, in the Southern District

Of Florida. The properties have not been placed for sale or mortgaged or

transferred. Indeed, because the properties are owned by a trust which is not, under

information and belief, under the control of Mr. Smerling, the property cannot be

sold or mortgaged at Mr. Smerling’s direction. While the Plaintiff has made an

argument to the Court about the fraudulent intent and activities of Mr. Smerling,

those arguments relate to the procurement of the loan at issue in this lawsuit and

not any of the properties that are sought to be attached.

         As to the other requirements of CPLR 6201:

         1. the defendant is a nondomiciliary residing without the state, or is a
         foreign corporation not qualified to do business in the state; or
         2. the defendant resides or is domiciled in the state and cannot be
         personally served despite diligent efforts to do so…

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        Mr. Smerling is currently in the custody of the United States, and is housed

at a jail facility in Newark, New Jersey. Mr. Smerling’s companies have been

served. The reasons for why property should be attached do not exist in this case

other than speculation that the property will be disposed of. Yet to date, despite

two civil actions and one criminal action instituted against Mr. Smerling, no party

in either of the criminal or civil actions have been able to come before any court

and point to any transfer, movement, sale or secreting of any property owned by

Mr. Smerling, owned by any company related to Mr. Smerling, or any property

placed in a trust.

        Both properties were purchased before the loan in this case was obtained.

3049 Hartridge Terrace, Wellington, FL, 33414 was purchased in 2005. 11353

Manatee Terrace, Lake Worth, FL, 33349 was purchased in July 2016.



III PROPERTIES HELD IN TRUSTS ARE EXEMPT FROM EXECUTION OF
JUDGMENT

        Despite the Plaintiff’s averment that it will be successful on the merits,

property held in trust is generally exempt from execution of judgment. See CPLR

5205:

        (c) Trust exemption. 1. Except as provided in paragraphs four and five
        of this subdivision, all property while held in trust for a judgment
        debtor, where the trust has been created by, or the fund so held in trust

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      has proceeded from, a person other than the judgment debtor, is
      exempt from application to the satisfaction of a money judgment.

      Therefore, despite the Plaintiff’s apparent ability to succeed on the merits,

the issue of which is not being raised here, without the cooperation of Elliot

Smerling and the beneficiaries of the trusts, the Plaintiff’s ability to succeed in

attaching the real properties held in trust is less apparent, which is another reason

for this court to exercise its discretion and not attach the real property.


                                    CONCLUSION

      Because it is anticipated that both civil actions will be settled shortly, and

because there is a significant difference between the ability to move, hide, and sell

an automobile versus real property, Mr. Smerling does not oppose the automobiles

being attached. But because attachment is a disfavored remedy, because there has

been no showing for the need for this court to exercise its discretion regarding the

two real properties, and because the properties are held in trust, the defendant

objects to the court ordering attachment of the two properties listed in the order to

show cause.

                           Respectfully Submitted,


                               S/Philip L. Reizenstein
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